
300 Multiple Choices

Multiple Choices
The document name you requested (/attorneys/assets/opinions/appellate/unpublished/a2385-15.pdf) could not be found on this server.
However, we found documents with names similar to the one you requested.Available documents:

/attorneys/assets/opinions/appellate/unpublished/a2285-15.pdf (mistyped character)
/attorneys/assets/opinions/appellate/unpublished/a2335-15.pdf (mistyped character)
/attorneys/assets/opinions/appellate/unpublished/a2381-15.pdf (mistyped character)
/attorneys/assets/opinions/appellate/unpublished/a0385-15.pdf (mistyped character)
/attorneys/assets/opinions/appellate/unpublished/a2382-15.pdf (mistyped character)
/attorneys/assets/opinions/appellate/unpublished/a2985-15.pdf (mistyped character)
/attorneys/assets/opinions/appellate/unpublished/a2386-15.pdf (mistyped character)
/attorneys/assets/opinions/appellate/unpublished/a2885-15.pdf (mistyped character)


IBM_HTTP_Server at www.judiciary.state.nj.us Port 443
